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                    UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF ILLINOIS

 CALVIN C. JAMES,

       Plaintiff,

 v.                                                  No. 17-cv-112-DRH

 AFNI, INC.,

       Defendant.

                           JUDGMENT IN A CIVIL CASE

       DECISION BY COURT.         This matter is before the court for the purpose of
 docket control.
       IT IS HEREBY ORDERED AND ADJUDGED that pursuant to the
 Stipulation of Dismissal with Prejudice filed on May 24, 2017, (Doc. 10), this case is
 DISMISSED with prejudice, each party to bear their own costs.


                                        JUSTINE FLANAGAN,
                                        ACTING CLERK OF COURT

                                        BY: /s/Alexandra Francis
                                         Deputy Clerk

 Dated: May 25, 2017

                                       Judge Herndon
                                       2017.05.25
                                       09:04:04 -05'00'
 APPROVED:
               U.S. DISTRICT JUDGE
               U. S. DISTRICT COURT
